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                                  No. 25-3727

            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT
                            ____________________

                           GAVIN NEWSOM, et al.,
                                       Plaintiffs-Appellees,

                                      V.

                           DONALD TRUMP, et al.,
                                       Defendants-Appellants.
                            ____________________

            On Appeal from the United States District Court
                for the Northern District of California
                          No. 3:25-cv-04870
                    The Honorable Charles R. Breyer
                            ____________________

  APPELLEES’ OPPOSITION TO APPELLANTS’ MOTION FOR
ADMINISTRATIVE STAY AND PROPOSED BRIEFING SCHEDULE
        FOR MOTION FOR STAY PENDING APPEAL
                            ____________________

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 June 12, 2025
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  OPPOSITION TO MOTION FOR ADMINISTRATIVE STAY AND
PROPOSED BRIEFING SCHEDULE ON MOTION FOR STAY PENDING
                       APPEAL
     Earlier today, the district court entered a temporary restraining order blocking

a decision by President Donald Trump to federalize 4,000 members of the

California National Guard. Order at 35. As the district court recognized, see id. at

9-26, 29-31, the Plaintiffs State of California and Governor Gavin Newson

(Plaintiffs) are likely to succeed in showing that Defendants unlawfully federalized

the National Guard for deployment on the streets of Los Angeles. Plaintiffs have

also demonstrated that judicial relief is necessary to prevent irreparable harm to the

State, see id. at 31-33, and that the balance of the equities and public interest

support Plaintiffs’ request for an injunction, see id. at 33-35.

     This evening, Defendants filed a motion for a stay pending appeal and also

sought an administrative stay pending resolution of that motion. Plaintiffs oppose

the request for an administrative stay and ask the Court to set an expedited briefing

schedule to resolve the motion for a stay pending appeal. An administrative stay is

unnecessary and unwarranted in light of the district court’s extensive reasoning—

in particular, its findings of irreparable harm to the State in the absence of

injunctive relief. There are also serious questions regarding the appellate

jurisdiction of this Court over Defendants’ appeal from a temporary restraining

order, especially in light of the hearing on the preliminary injunction scheduled for



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Friday, June 20. See generally Serv. Emps. Int’l Union v. Nat’l Union of

Healthcare Workers, 598 F.3d 1061, 1067 (9th Cir. 2010) (“Ordinarily, temporary

restraining orders are not appealable interlocutory orders.”).

     With respect to Defendants’ motion for a stay pending appeal, Plaintiffs

request the opportunity to file a fully reasoned opposition before the Court

considers granting any form of relief to Defendants. Defendants recently requested

and obtained a similar opportunity before the district court: After Plaintiffs filed a

motion seeking an immediate ex parte restraining order, Defendants requested 24

hours to prepare and file an opposition. See D. Ct. Dkt. 12 at 1. The district court

granted that request. See D. Ct. Dkt. 14. Consistent with that approach, Plaintiffs

respectfully propose the following expedited briefing schedule for resolution of

Defendants’ motion for a stay pending appeal:

      •   Friday, June 13, 2025, at 7 p.m.: Deadline for Plaintiffs’ opposition to
          the motion for a stay pending appeal;

      •   Saturday, June 14, 2025, at 12 p.m.: Deadline for Defendants’ optional
          reply in support of the motion for a stay pending appeal.




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                                 CONCLUSION

     The motion for an immediate administrative stay should be denied. The

Court should instead impose an expedited briefing schedule, with Plaintiffs’

opposition to the motion for a stay pending appeal due by 7 p.m. on June 13, 2025,

and Defendants’ optional reply brief due by 12 p.m. on June 14, 2025.


Dated: June 12, 2025                    Respectfully submitted,

                                             s/ Samuel T. Harbourt

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                        CERTIFICATE OF COMPLIANCE

      This opposition contains 467 words. I further certify that the motion’s type

size and typeface comply with Federal Rule of Appellate Procedure 27(d)(1)(E)

because it has been prepared in 14-point Times New Roman font.


Dated: June 12, 2025                       s/ Samuel T. Harbourt
                                          Samuel T. Harbourt
